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11   UNITED STATES OF AMERICA

12                            UNITED STATES DISTRICT COURT

13                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

14   UNITED STATES OF AMERICA,                No. 2:23-CR-00047-JLS

15              Plaintiff,                    JOINT STATUS REPORT RE: DISCOVERY

16                    v.

17   THOMAS VINCENT GIRARDI and
     CHRISTOPHER KAZUO KAMON,
18
                Defendants.
19

20         Plaintiff United States of America, by and through its counsel
21   of record, the United States Attorney for the Central District of
22   California and Assistant United States Attorneys Scott Paetty and Ali
23   Moghaddas, and defendant Thomas Vincent Girardi, by and through his
24   counsel of record Deputy Federal Public Defenders Charles Snyder,
25   Samuel Cross, and Alejandro Barrientos, and defendant Christopher
26   Kazuo Kamon, by and through his counsel of record Michael Severo,
27   hereby file a joint status report re: discovery.
28
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1          The parties provide their respective positions in advance of the

2    February 23, 2024 discovery conference.

3
      Dated: February 16, 2024            Respectfully submitted,
4
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5                                         United States Attorney

6                                         MACK E. JENKINS
                                          Assistant United States Attorney
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8
                                                /s/
9                                         SCOTT PAETTY
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10
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11                                        UNITED STATES OF AMERICA

12

13    Dated: February 16, 2024
14                                              /s/ with permission
                                          CHARLES SNYDER
15                                        SAMUEL CROSS
                                          ALEJANDRO BARRIENTOS
16
                                          Attorneys for Defendant
17                                        THOMAS VINCENT GIRARDI
18
19    Dated: February 16, 2024

20                                              /s/ with permission
                                          MICHAEL SEVERO
21
                                          Attorney for Defendant
22                                        CHRISTOPHER KAZUO KAMON

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1                                 JOINT STATUS REPORT

2    I.    Defendant Girardi’s Position 1

3          A.    State of discovery as of the January 10 trial-setting
                 conference.
4

5          As of the January 10 trial-setting conference, the government

6    had made four tranches of discovery productions consisting of 640,634

7    Bates-stamped pages.      While much of the discovery consists of

8    sequentially-numbered PDFs, it also contains numerous recordings and

9    spreadsheets, each of which is denominated by a single Bates number.

10   In general, Production 1 consists of grand-jury returns, documents

11   received from the State Bar and individuals associated with the

12   charged executions of the alleged wire-fraud scheme, interview and

13   investigative reports, and recordings; production 2 consists of

14   grand-jury returns, voluntary third-party productions, and reports;

15   and productions 3 and 4 consist of grand-jury returns, items received

16   from the trustee, interview and investigative reports, and

17   recordings.

18         B.    Discovery requests and productions since the trial-setting
                 conference.
19

20         In the month since the trial-setting conference, Girardi has

21   sent the government a number of discovery requests citing Rule 16 and

22   Brady.     Without providing an exhaustive recitation, these requests

23   include: (1) Girardi Keese’s accounting and timekeeping records; (2)

24   GK’s emails; (3) a forensic image of GK’s computers; (4) GK’s

25   litigation-management databases; (5) certain analyses compiled by the

26

27         1Defendant Christopher Kamon does not provide his own section
     in this report; however, he joins in defendant Girardi’s discovery
28   requests as stated in section I.B. and joins in the contention that
     the Trustee is part of the prosecution team for Brady purposes.
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1    GK bankruptcy trustee; and (6) evidence related Christopher Kamon’s

2    alleged separate embezzlement schemes.         Over the same time period,

3    the government has produced approximately 36,000 Bates-numbered items

4    – some of which are native documents, spreadsheets, and recordings

5    marked with a single Bates page – as well as Chris Kamon’s digital

6    devices. 2   These productions have brought the total Bates range from

7    640,634 to 676,831, not including Kamon’s devices.

8          C.     Forward-looking issues and outstanding evidence.

9          The parties have generally worked cooperatively since the trial-

10   setting conference, but have disagreed about the extent to which the

11   government is responsible for items nominally held by the GK

12   bankruptcy trustee.     Girardi contends that the trustee is a member of

13   the prosecution team for Brady purposes, and that the items within

14   the trustee’s possession are within the government’s possession,

15   custody, or control under Rule 16.        The government takes the opposite

16   position.     To date, the parties have “agreed to disagree” on this

17   point, and the issue has not yet crystallized into a dispute

18   requiring the Court’s intervention.
19

20
           2Specifically, on January 10, after the trial-setting
21   conference, the government produced additional grand-jury returns and
     interview memos. On January 12, the government produced the
22   discovery from Kamon’s separate embezzlement case, including
     information regarding his efforts to proffer throughout 2023. On
23   January 24, the government produced forensic copies of Kamon’s seized
     digital devices, including at least one computer and multiple cell
24   phones, the contents of which are not Bates stamped. On January 30,
     the government produced certain items received from the trustee,
25   reports related to its interactions with the trustee, some of Kamon’s
     emails, and additional grand-jury returns. On February 15, the
26   government produced another set of discovery including selected GK
     emails and other documents related to its case-in-chief, reports, and
27   voluminous GK accounting records in its possession since May 2023,
     each of which is denominated by a single Bates page (e.g., the ledger
28   of every GK partner draw and contribution from 1999-2020 is allocated
     a single Bates page).
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1          One effect of that disagreement is that, rather than obtaining

2    certain evidence directly from the government, Girardi has had to

3    seek it from the trustee, who has refused to produce anything without

4    a subpoena.    This has prolonged the time necessary for Girardi to

5    obtain and review evidence critical to his trial defense.            As the

6    Court knows, Girardi recently obtained a subpoena for items in the

7    trustee’s possession, which he served on the trustee on February 13. 3

8    The trustee has yet to produce responsive items.

9          Presently, the parties do not have discovery disputes that

10   require the Court’s intervention, though there is a possibility that

11   they may arise in the future.       Girardi’s mostly-new defense team is

12   diligently reviewing the existing discovery as well as material from

13   dozens of related litigations and investigations and believes that

14   there is likely to be substantial additional evidence key to his

15   trial defense, much of which is likely to be in the hands of the

16   trustee.

17   II.   Government’s Position

18         Following the January 10 status conference, defendant Girardi
19   has made multiple discovery requests, to which the government has

20   promptly responded.     The government believes that many of these

21   requests exceed the ambit of its discovery obligations, but

22   nevertheless it worked diligently to comply with these requests to

23   avoid unnecessary litigation and/or further delays.           To that end, the

24   government has facilitated defendant Girardi’s direct contact with

25   the bankruptcy trustee in order to enable his access to any materials

26

27         3Girardi has consistently maintained that the government is
     responsible for producing any material or favorable evidence in the
28   possession of the trustee under Rule 16 and Brady, and that he was
     not required to seek a subpoena at all.
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1    in the trustee’s possession that may assist in the preparation of his

2    defense and remains ready to assist Girardi as appropriate.

3    The government understands that there are currently no active

4    discovery disputes.     Furthermore, as stated at the January 10 status

5    conference, in an effort to streamline this case, the government has

6    agreed to provide the defense with its witness and exhibit lists in

7    advance of trial.     Consistent with that position, the government

8    intends to provide these lists to defendants on or before the

9    discovery conference scheduled for February 23, 2024.            The government

10   will endeavor to provide as complete a version of both lists as

11   possible but reserves the right to modify the lists in advance of

12   trial.   Further, the government anticipates that the vast majority of

13   its exhibits are documents and materials the defense has long

14   possessed, including records from the government’s first production

15   in this matter from nearly a year ago.

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